Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 1 of 10




               EXHIBIT 5
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 2 of 10
                                                                                        Filed
                                                                                       09January21 P5:59
                                                                                        Jerrv Deere
                                                                                        Dlstilct Clerk
                                                                                        Brazorla Dlstrlct


                               CAUSE NO.

 JEFF FRANK. NADALO,                            $
 DANA NTCOLE NADALO,                            $
 CAIDEN RAY NADALO, a minor                     $
 child, and MOLLY MARIE NADALO'                 $
 a minor child,                                 $
 Plaintiffs                                     $    IN THE DISTRICT COURT OF
                                                $
 YS.                                            $
                                                $
 ALLIED \ilASTE LANDFILL                        $    BRAZORIA COUNTY, TX
 HOLDINGS,INC., and                             $
 BLUE RIDGE LANDFILL TX, LP,                    $
 Defendants                                     $
                                                $
                                                $              JUDICIAL DISTRICT
                                                $

                           PLAINTIFFS' ORIGINAL PETITION

 TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COME Jeff Frank Nadalo and Dana Nicole Nadalo, Caiden Ray Nadalo,

  And Molly Marie Nadalo, Plaintiffs in the above-styled-and-numbered cause and file this

  Plaintiffs' Original Petition, and complain of Allied V/aste Landfill Holdings, Inc., and

  Blue Ridge Landfill TX, LP:

                                               I.

                              DrscovERY coNTRoL PLAN

  l.     Discovery is intended to be conducted under a Level 2 Discovery Control Plan

  per Texas Rule of   Civil Procedure 190.4.

                                               II.
                                          PARTIES

  2.     JeffFrank Nadalo is a resident of Brazoria County, Texas.


                                                                                    Page I
  PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 3 of 10




 3.      Dana Nicole Nadalo is a resident of Brazoria County, Texas.

 4,      Caiden Ray Nadalo is a minor child and is resident of Brazoria County, Texas.

 5.      Molly Marie Nadalo is a minor child and is resident of Brazoria County, Texas.

 6,      Allíed V/aste Landfill Holdings, Inc. ("Allied") is a Delaware corporation doing

 business   in the State of Texas. Allied may be served with        process by serving its

 registered agent   for sen¡ice of process, CT Corporation, whose address is     350 N. ST.

 PAUL STREET, Dallas, D(.75201USA.

 7,      Blue Ridge Landfill TX, LP ("Blue Ridge") is a Delaware limited partnership,

 whose general partner is Allied Waste Landfill Holdings, Inc., and who is doing business

 in the State of Texas. Blue Ridge may be served with process by serving its registered

 agent   for service of   process,   CT Corporation, whose address is   350   N. ST. PAUL
 STREET, Dallas, TX7520l USA.

                                              m.
                               JURISI'ICTION AND VENUE

 8.      This action is based on the cornmon law of the State of Texas and the statutes

 enacted by the Texas legislature. Subject matter jurisdiction is vested       in this   Court

 because   Plaintiffs' causes of action involve various claims with regard to real property

 located in Brazoria County, Texas. Subject matter jurisdiction is also vested in this Court

 because the amount    in controversy exceeds the minimum jurisdictional requirements of

 this Court. Tex. CoNsr., ârt. V, $ 8; Tex.   Gov'r Coon, $$ 24.007, 24.008, This Court

 has personal jwisdiction over the Defendants pursuant       to Texas Civil Practice and

 Remedies Code, Section 17.042.




                                                                                     Page2
 PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 4 of 10




 9.       Venue is mandatory in Brazoria County, Texas pursuant to Texas Civil Practice

 and Remedies Code Sections        l5.0lt   and 15.001, because this an action involving     a


 recovery of damages to real property.

                                               ry.
                                             FACTS

 10.      My wife, Dana Nadalo and I, Jeff Nadalo, are homeoÌ\,ners living in        Shadow

 Creek Ranch     al 12401    Coral Cove Court, Pearland, TX 77584 ("Our Home" or the

 "Property"). We share Our Home with our two infant children, Molly Nadalo and Cadien

 Nadalo. Dana and      I   have lived in the community for two-and-a-half years. Shadow

 Creek Ranch is a 3,500-acre lake themed master planned community south of Houston in

 Pearland, Texas offering homes fiom $150,000 to over       $l million.   Shadow Creek Ranch

 had been the number one selling master-planned community in the Houston-Pearland

 Metroplex.

 I   l.   Beginning in January of 2008, my wife and I started to notice an unusual odor in

 the late evenings and early morning hours at Or¡r House. Over the course of the year the

 odor, which is strongest in colder weather, developed into a foul rotten trashy stench.

 Depending on weather conditions, the odor ranges from undetectable to unbearable.

 When the stench is at its wors! the odor permeates the air and infiltrates Our Home. My

 wife and two infant children have recently experienced upper-respiratory and               eye

 initations as a result of the noxious airborne trash particulates.

  12.     There is little doubt -- the odor is emanating from the refuse operations of

 Defendants Blue Ridge and      Allied   a12200 FM 521 ("521   Landfill"). Unfortunately,   we

 a¡e not the only ones affected. Recent news articles have confirmed that the 521 Landfill



                                                                                      Page 3
 PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 5 of 10




 is causing great frustration for the citizens in and around the area, and has contributed to

 a reduction   in property values for the sunounding communities. In fact, more than       160


 complaints were filed with the Texas Commission on Environmental Quality ('TCEQ")

 in 2008 alone in regards to the odor from the 521 Landfill.

 13.    Defendants earn substantial sums of money by allowing refuse to be deposited at

 the 521 L"andfill. Defendants have benefitted financially at the expense of               the

 surrounding community. Despite the unprecedented number of complaints, Defendants

 have done nothing to contain the noxious smells and harmful particulates. Instead,

 Defendants have chosen to pursue a permit with the TCEQ to quødruple the size of the

 521 Landfill. rWere the permit to be granted and were the landfill to reach capacity, the

 521 Landfill would be the tallest structure in all of Fort Bend County.

  14.   Defendants have pursued this permit notwithstanding extreme opposition from

 local residents and neighboring businesses. Allied and Blue Ridge's callous disregard for

 the local residents and commercial neighbors stands in stark opposition to Defendants'

 own published Code of Conduct and Ethics. The public outcry has been ignored. Perhaps

 Defendants    will now listen.

                                              v.

                                   CAUSES OF ACTION

 15.    The preceding paragraphs set forth above are incorporated hereafter for all

 purposes.

 A.     Negligence.

 L6.    Defendants owe       a duty to Plaintiffs to exercise   reasonable care   in   properly

 maintaining and operating the 521 Landfill. Defendants were aware of complaints by


                                                                                        Page 4
 PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 6 of 10




  local residents that the Defendants' operations at the 521 Landfìll were causing harm to

 the sunounding community.

  17.    Defendants breached the duty owed to Plaintiffs by improperly operating the 521

  Landfill and ignoring the pleas of the sunounding community to find a solution to the

  noxious odors and irritants.

  18.    As a direct and proximate result of Defendants' conduct in failing to properly

  maintain and operate the 521 Landfill, all of which they had agreed to do in accordance

 with applicable Texas State and federal permits, Defendants foreseeably and proximately

  caused substantial harm to   Plaintiffs' persons and real property.

  B.     Gross Negligence.

  19.    Defendants were placed on notice and made aware of the high probability that

 their harmful and noxious airbome odors and particulates could cause upper respiratory

 harm to those living near the 521 Landfill. Since January of 2008, Defendants have

 knowingly and intentionally allowed their dangerous and toxic airbome particulates to

  leave their premises and enter the Property and the sunounding Shadow Creek Ranch

  community.

  20.    Defendants' conduct in completely failing to maintain and properly operate the

  521 Landfill constitutes an extreme degree        of risk,   considering the probability and

 magnitude of the harm which could have and in fact, has occuned to others.

  21.    Defendants had actual awareness of the risk involved, but nevertheless chose to

 proceed   with conscious indifference to the rights, safety, or welfare of others, including

 the Plaintiffs. Defendants' actions have caused substantial damages, as well as severe

 mental anguish and distress to Plaintifß.



                                                                                       Page 5
  PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 7 of 10




 C.        Nuisance.

 22.       Plaintiffs Jeff Frank Nadalo and Dana Nicole Nadalo, are, and at all times

 mentioned and material to this action were, the owners in fee of certain real property

 located   atl240l Coral Cove Court,   Pearland,   TX77584.

 23.       Commencing on or about January 1,2008, Plaintiffs have knowingly allowed a

 harmful and toxic mixture of airborne particulates to unlawfully enter the Property.

 24.       The release and eventual presence of noxious smells and harmful eye and throat

 initants from the 521 Landfill constitute a nuisance insofar as they have interfered with

 the Plaintiffs' use and enjoyment of their Property. Defendants' acts constitute           a


 proximate caus€ of the interference with the use and enjoyment of Plaintiffs' Property

 and the injuries and damages made the basis of this action.

 25.       Defendants knew to a reasonable certainty, or    in the exercise of ordinary   care


 should have known that operating the 521 Landfill in an unsafe and imprudent manner

 would result in a substantial annoyance to Plaintiffs, as well as depreciation in the market

 value of Plaintiffs' Property as well as su¡rounding property due to the perception by

 potential homebuyers of future odor problems.

 26,       Plaintiffs therefore allege that the Defendants have voluntarily and intentionally

 interfered with the use and enjoyment of Plaintiffs' Property'

 27.       As a result of Defendants' inaction, Plaintifß have been substantially annoyed

 and inconvenienced and have suffered severe discomfort and mental anguish.

 D.        Trespass.

 28.       Defendants have trespassed onto Plaintiffs' Property          by knowingly     and


 intentionally allowing toxic and harmfr¡l initants to enter Plaintiffs' Property.


                                                                                        Page 6
 PLAINTIFFS' ORIq INAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 8 of 10




 29.     As a result of Defendants' inaction, Plaintiffs have been substantially   annoyed


 and inconvenienced and have suffered severe discomfort and mental anguish.

                                                 vI.
                                 EXEMPLARY DAMAGES

 30.     The conduct of Defendants, as alleged in this petition, was grossly negligent,

 willñrl, and wonton, thereby making Defendants liable to the Plaintiffs for     exemplary

 damages.

                                                 vn.
                                       RELIEF SOUGHT

 31.     Plaintiffs seek the following relief:

         o    Actual damages including but not limited to, compensation for physical harm

         to persons and real property;

         o    ExemPlary damages in an ar¡ount to be determined at trial;

         o A permanent injunction        prohibiting Defendants flom expanding the 5l I

         Landfill; and

         o A permanent injunction prohibiting Defendants         from accepting additional

         refuse at the 511 Landfill;




  32.    All conditions   precedent necessary to the bringing of this suit have been met and

 satisfied.




                                                                                     PageT
 PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 9 of 10




                                             VIII.

                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Court will n¡le

 in favor of Plaintiffs and that upon final trial and judgment that all costs and other relief,

 at law and in equity, be rendered in favor of Plaintiffs.



                                                        Respectfully submitted,

                                                             t\"[Ahlolp
                                                        Texas State Bar No. 24041559

                                                        12401Coral Cove Ct.
                                                        Pearland, Texas 77584
                                                        Telephone: (832) 725 -0622
                                                        Fax: (713) 803-1427

                                                        ATTORNEY FOR PLAINTIFFS
                                                        JEFF FRANK NADALO, DANA
                                                        NICOLE NADALO, CAIDEN RAY
                                                        NADALO, AND MOLLY MARIE
                                                        NADALO




                                                                                        Page 8
 PLAINTIFFS' ORIGINAL PETITION.
Case 3:16-cv-00323 Document 61-6 Filed in TXSD on 08/10/18 Page 10 of 10




                          8TA1Ë OF TËXTÊ
                          COUNlI OF BRAZORIA
                          lceÉlfy that the forcgoing ls   a true and conect
                          copy of the orig inel record on fìle in my office,
                          Given under my hand and seal of the courl at
                             office in           , Texas.
                                                 DISTRICT CLERK




                           0g           faur
